                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

Case No.      CV 18-3053 GW (SS)                                 Date: May 22, 2018
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Title:        Rudolph Hoskins v. Debbie Asuncion


DOCKET ENTRY:            ORDER TO SHOW CAUSE WHY THE MAGISTRATE
                         JUDGE SHOULD NOT RECOMMEND THAT THIS
                         ACTION BE DISMISSED AS UNTIMELY


PRESENT:
HONORABLE SUZANNE H. SEGAL, UNITED STATES MAGISTRATE JUDGE

     _Marlene Ramirez_               _______None_______                    __None__
         Deputy Clerk             Court Reporter/Recorder                  Tape No.

    ATTORNEYS PRESENT FOR PLAINTIFF:             ATTORNEYS PRESENT FOR DEFENDANTS:

                None Present                                    None Present

PROCEEDINGS: (IN CHAMBERS)

        On April 5, 2018, 1 Rudolph Hoskins, a California state prisoner proceeding pro se,
filed a Petition for Writ of Habeas Corpus by a Person in State Custody (“Petition”) pursuant
to 28 U.S.C. § 2254, apparently challenging the state parole board’s 2015 decision denying
parole for five years, as well as the decision denying a petition to advance the date of
Petitioner’s next parole suitability hearing. (Dkt. No. 1). The Petition appears to be
untimely.

      AEDPA also imposes a specific time limit on the filing of federal habeas petitions.
See Rhines v. Weber, 544 U.S. 269, 274 (2005). By creating a limitations period, Congress

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       Under the “mailbox rule,” a pleading filed by a pro se prisoner is deemed filed as of
the date the prisoner delivered it to prison authorities for mailing, not the date on which the
pleading may have been received by the court. See Houston v. Lack, 487 U.S. 266, 270
(1988); Anthony v. Cambra, 236 F.3d 568, 574–75 (9th Cir. 2000). Here, the Court uses
the date the Petition was signed as the constructive filing date. (See Petition at 14).
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intended “to reduce delays in the execution of state and federal criminal sentences.”
Woodford v. Garceau, 538 U.S. 202, 206 (2003). Under 28 U.S.C. § 2244(d)(1), as
amended, state prisoners have only one year in which to file their federal habeas petitions.
The one-year limitations period prescribed by 28 U.S.C. § 2244(d)(1) begins to run from
the latest of:

         (A) the date on which the judgment became final by the conclusion of direct
         review or the expiration of the time for seeking such review;

         (B) the date on which the impediment to filing an application created by State
         action in violation of the Constitution or laws of the United States is removed,
         if the applicant was prevented from filing by such State action;

         (C) the date on which the constitutional right asserted was initially recognized
         by the Supreme Court, if the right has been newly recognized by the Supreme
         Court and made retroactively applicable to cases on collateral review; or

         (D) the date on which the factual predicate of the claim or claims presented
         could have been discovered through the exercise of due diligence.

28 U.S.C. § 2244(d)(1)(A)–(D). For claims challenging decisions of the state parole board,
the one-year statute of limitations begins to run when the time for administrative appeal
ends. See Shelby v. Bartlett, 391 F.3d 1061 (9th Cir. 2004); Redd v. McGrath, 343 F.3d
1077 (9th Cir. 2003).

       The parole board held a parole hearing on June 18, 2015 and denied parole for five
years. (See Petition at 47-83 (parole hearing transcript)). Parole hearing decisions are
reviewable by the full parole board, and they become final within 120 days of the hearing.
Cal. Code Regs. tit. 15, §§ 2041, 2043. Here, the decision became final on October 16,
2015. The limitations period began to run that day, see Redd, 343 F.3d at 1085, and expired
one year later, on October 16, 2016. Therefore, absent tolling, the instant Petition is
untimely by nearly a year and a half.
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       AEDPA provides a statutory tolling provision which suspends the limitations period
for the time during which a “properly filed” application for post-conviction or other
collateral review is “pending” in state court. 28 U.S.C. § 2244(d)(2); accord Pace v.
DiGuglielmo, 544 U.S. 408, 410 (2005). In addition to statutory tolling, the limitations
period may also be subject to equitable tolling if Petitioner can demonstrate both: (1) that
he has diligently pursued his rights; and (2) that some extraordinary circumstance stood in
his way. See Holland v. Florida, 560 U.S. 631, 649 (2010). “The petitioner must show that
the extraordinary circumstances were the cause of his untimeliness and that the
extraordinary circumstances made it impossible to file a petition on time.” Porter v. Ollison,
620 F.3d 952, 959 (9th Cir. 2010) (citation omitted).

       Here, Petitioner has not alleged any facts indicating that he may be entitled to
statutory or equitable tolling. Petitioner’s response to this Order should identify any facts
that would permit him to demonstrate that he is entitled to tolling. See Banjo v. Ayers, 614
F.3d 964, 967 (9th Cir. 2010) (habeas petitioner bears the burden of proving that the statute
of limitations was tolled).

Conclusion

        Based upon the Petition as currently submitted, 28 U.S.C. § 2244(d)(1) appears to
bar this action as untimely. Petitioner therefore is ORDERED TO SHOW CAUSE, within
fourteen (14) days of the date of this Order, why this Court should not recommend dismissal
of this action pursuant to the AEDPA’s one-year period of limitation. Petitioner further is
advised to inform the Court of any reason why he may be entitled to statutory or equitable
tolling. Petitioner may satisfy this Order to Show Cause by filing a response and/or
declaration setting forth any reason the instant Petition is not barred as untimely.

       After the Court receives a response to the Order to Show Cause, the Court may
prepare a Report and Recommendation for submission to the District Judge. This Order is
not dispositive of any of Petitioner’s claims.

      Instead of filing a response to the instant Order to Show Cause, Petitioner may
request a voluntary dismissal of this action pursuant to Federal Rule of Civil
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Procedure 41(a). A Notice of Dismissal form is attached for Petitioner’s convenience.
Petitioner, however, is advised that any dismissed claims may be later subject to the
statute of limitations under 28 U.S.C. § 2244(d)(1), as amended by the AEDPA, which
provides that “[a] 1-year period of limitation shall apply to an application for a writ of
habeas corpus by a person in custody pursuant to the judgment of a State court.”

      Petitioner is expressly warned that failure to timely file a response to this Order
to Show Cause may result in a recommendation that this action be dismissed with
prejudice for his failure to comply with Court orders and failure to prosecute. See
Fed. R. Civ. P. 41(b).

       The Clerk of Court is directed to serve a copy of this Order to Show Cause on
Petitioner at his current address of record.

         IT IS SO ORDERED.


MINUTES FORM                                                                              00:00
CIVIL-GEN                                                           Initials of Deputy Clerk mr
